828 F.2d 19
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.FIRST AMERICAN NATIONAL BANK OF NASHVILLE,Plaintiff-Appellant, Cross-Appellee,v.BONDED ELEVATOR, INC., et al., Frank Corum and SLT WarehouseCompany, Defendants-Appellees, Cross-Appellants.
    Nos 86-5896, 86-5926
    United States Court of Appeals, Sixth Circuit.
    September 3, 1987.
    
      ORDER
      Before NATHANIEL R. JONES, WELLFORD and RALPH B. GUY, Jr., Circuit Judges.
    
    
      1
      In accordance with the agreement reached between the parties in settlement discussions conducted pursuant to Sixth Circuit Rule 18, the parties jointly move to remand this cause to the United States District Court for the Western District of Kentucky at Paducah for determination of the parties' motion filed pursuant to Rule 60(b)(6), Federal Rules of Civil Procedure.
    
    
      2
      Upon consideration of the motion and further considering Judge Johnstone's order of July 28, 1987,
    
    
      3
      IT IS ORDERED that the motion be and hereby is granted.  The appeals are remanded to the District Court for further proceedings.  See First National Bank of Salem, Ohio v. Hirsch, 535 F.2d 343 (6th Cir. 1976).
    
    